                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                EAST ST. LOUIS DIVISION

MICHAEL E. BEATTY, M.D. d/b/a THE                           )
SOUTHWESTERN ILLINOIS PLASTIC &                             )
HAND SURGERY ASSOCIATES, individually                       )
and as the Representative of a class of similarly-          )
situated persons,                                           )
                                                            )
                         Plaintiffs,                        )       Cause No. 3:17-cv-01001-NJR-DGW
                                                            )
vs.                                                         )
                                                            )
ACCIDENT FUND GENERAL                                       )
INSURANCE COMPANY, et al.                                   )
                                                            )
                         Defendants.                        )

    RESPONSE TO DEFENDANTS’ NOTICE OF NEW AUTHORITY IN SUPPORT OF
      THE OMNIBUS MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

        Defendants’ “new authority”1 is not novel. Like Marque Medicos,2 it is inapposite. It

does not involve an ICFA unfairness claim. And its holding is simple: there is no implied private

right of action for interest under the Illinois Workers’ Compensation Act, because the interest

provision is primarily for the benefit of employees. Thus, like Marque Medicos, it actually

confirms that Defendants’ unfair practices harm consumers and, therefore, confirms that Plaintiff

meets the ICFA’s consumer nexus test. In other words, the interest provision and other Illinois’

public policies encouraging timely and full payments to healthcare providers are primarily for

the benefit of consumers. Thus, Defendants’ concerted, ongoing practices of withholding

payment and then failing to pay interest harm consumers, implicate consumer protection

concerns, and are addressed to the market generally.



1
  Medicos Pain and Surgical Specialists, S.C. v. Travelers Indemnity Co. of Am., 2018 IL App (1st) 162591 (April
26, 2018).
2
  Marque Medicos Fullerton, LLC v. Zurich Am. Ins. Co., 83 N.E.3d 1027 (Ill. App. Ct. 2017).

                                                       1
       Not only do Marque Medicos and Medicos Pain explain how Dr. Beatty’s claim meets

the consumer nexus test, the cases also help demonstrate why Dr. Beatty sufficiently alleged an

ICFA unfair practices claim: 1) Defendants’ scheme is immoral, unethical, oppressive, or

unscrupulous; 2) the scheme substantially injures consumers by increasing prices, reducing

access to care, and subjecting consumers to liability; and 3) the scheme offends public policy as

expressed in the IWCA, the Department of Insurance Bulletin, Illinois case law, and Defendants’

own insurance policies which, by statute, require Defendants to pay their insureds’ total liability

including the payment of interest to healthcare providers.



DATED: May 3, 2018                                    Respectfully submitted,

                                              By:      /s/ Benjamin R. Askew
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                                                      Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

       I hereby certify that on May 3, 2018, I electronically filed Plaintiff’s Response to

Defendants’ Notice of New Authority with the Clerk of the Court for the United States District

Court, Southern District of Illinois by using the CM/ECF system. Participants in the case who

are registered CM/ECF users will be served by the Southern District CM/ECF system.

                                                         /s/ Benjamin R. Askew




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